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                                           1    Robins Kaplan LLP
                                                Scott G. Johnson (CA Bar No. 153735)
                                           2    SJohnson@RobinsKaplan.com
                                                Erica A. Ramsey (pro hac vice)
                                           3    ERamsey@RobinsKaplan.com
                                                2049 Century Park East
                                           4    Suite 3400
                                                Los Angeles, CA 90067
                                           5    Telephone: (310) 552-0130
                                                Facsimile: (310) 229-5800
                                           6
                                                Attorneys for Defendant Factory Mutual
                                           7    Insurance Company
                                           8
                                           9                      UNITED STATES DISTRICT COURT
                                          10                     CENTRAL DISTRICT OF CALIFORNIA
                                          11
ROBINS KAPLAN LLP
              ATTORNEYS AT LAW




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                                               LIVE NATION ENTERTAINMENT,              Case No. 2:21-cv-00862-JAK-KS
                           LOS ANGELES




                                          13   INC.,
                                                                                       Case assigned to Judge John A.
                                          14                 Plaintiff,                Kronstadt
                                          15         v.                                FACTORY MUTUAL
                                                                                       INSURANCE COMPANY’S
                                          16   FACTORY MUTUAL INSURANCE                NOTICE OF MOTION AND
                                               COMPANY,                                MOTION FOR
                                          17                                           RECONSIDERATION OF THE
                                                             Defendant.                COURT’S ORDER RE
                                          18                                           DEFENDANT’S MOTION FOR
                                                                                       PARTIAL JUDGMENT ON THE
                                          19                                           PLEADINGS
                                          20                                           Hearing Date: August 15, 2022
                                          21                                           Time:         8:30 a.m.
                                                                                       Courtroom:    10B
                                          22
                                          23                                           [Filed concurrently with:
                                          24                                           Memorandum of Points and
                                                                                       Authorities]
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                                                                                                 NOTICE OF MOTION AND MOTION
                                                                                                         FOR RECONSIDERATION
                                         Case 2:21-cv-00862-JAK-KS Document 44 Filed 05/31/22 Page 2 of 3 Page ID #:842



                                           1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                           2         PLEASE TAKE NOTICE that on August 15, 2022, at 8:30 a.m. or as
                                           3   soon thereafter as the matter can be heard, in Courtroom 10B, located at the
                                           4   United States Courthouse, First Street Courthouse, 350 W. First Street,
                                           5   Courtroom 10B, Los Angeles, CA 90012 or remotely via Zoom if directed by
                                           6   the Court, Defendant Factory Mutual Insurance Company (“FM”) will
                                           7   move and hereby does move for reconsideration of the Court’s February 3,
                                           8   2022, Order denying FM’s Motion for Partial Judgment on the Pleadings.
                                           9         This motion is made pursuant to Local Rule 7-18 and the Court’s
                                          10   inherent authority to reconsider prior rulings and decisions on the grounds
                                          11   that there has been a change in the law relied on by the Court in its
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                                          12   February 3, 2022 Order on the issue of whether the alleged presence of the
                           LOS ANGELES




                                          13   COVID-19 virus can cause “physical loss or damage” to property. After this
                                          14   Court issued its Order, the California Court of Appeal clarified, based on
                                          15   the same policy language and nearly identical allegations, that the presence
                                          16   of the virus does not cause “physical loss or damage” as required by the
                                          17   policy. This decision is the only California appellate-court ruling to directly
                                          18   address this issue and is binding on this Court absent convincing evidence
                                          19   that the California Supreme Court would hold differently.
                                          20         This motion is made following the conference of counsel pursuant to
                                          21   Local Rules 7-3, which took place on May 11, 2022, and is based on this
                                          22   Notice and the Memorandum of Points and Authorities in support thereof,
                                          23   all the pleadings and papers on file in this action, and such argument as
                                          24   may be presented at the hearing.
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                                                                                                   NOTICE OF MOTION AND MOTION
                                                                                                           FOR RECONSIDERATION
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                                               Dated:     May 31, 2022                ROBINS KAPLAN LLP
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                                           3
                                                                                      By: /s/ Scott G. Johnson
                                           4                                              Scott G. Johnson
                                                                                          Erica A. Ramsey
                                           5
                                                                                      Attorneys for Defendant Factory
                                           6                                          Mutual Insurance Company
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